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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ────────────────────────────────────
    D.G. SWEIGERT,

                          Plaintiff,                 23-cv-5875 (JGK)
                                                     23-cv-6881 (JGK)
               - against –
                                                     MEMORANDUM OPINION AND
    JASON GOODMAN, ET AL.,                           ORDER

                     Defendants.
 ────────────────────────────────────
JOHN G. KOELTL, District Judge:

        This is one of many actions involving the plaintiff, David

George Sweigert, and the defendant, Jason Goodman. See, e.g.,

Sweigert v. Goodman, No. 18-cv-8653, 2021 WL 2678621, at *1

(S.D.N.Y. Jun. 30, 2021) (“[T]his action involves two pro se

litigants whose occupations appear to consist chiefly of

concocting outlandish conspiracy theories and accusing one

another of criminal conduct and other misbehavior on the

internet.”).1

        In the two complaints presently before the Court, the

plaintiff alleges that Goodman published various uncharitable

statements about the plaintiff on the internet in violation of

various state and federal laws. See generally Am. Compl., Case

No. 23-cv-5875, ECF No. 13 (“5875 Amended Complaint” or “5875




1 Unless otherwise noted, this Memorandum Opinion and Order omits all internal
alterations, citations, footnotes, and quotation marks in quoted text.

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Am. Compl.”); Am. Compl., Case No. 23-cv-6881, ECF No. 12 (“6881

Amended Complaint” or “6881 Am. Compl.”).

      The defendant Goodman moves to dismiss the 5875 Amended

Complaint and the 6881 Amended Complaint for failure to state a

claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.2 Goodman further requests that the Court declare the

plaintiff a vexatious litigant and impose a nationwide filing

injunction on the plaintiff.3

      For the following reasons, the motion to dismiss is granted

in part and denied in part, and the motion for a nationwide

filing injunction is denied.

                                     I.

      In deciding a Rule 12(b)(6) motion to dismiss for failure

to state a claim, the Court must accept the allegations in the

complaint as true and draw all reasonable inferences in the

plaintiff’s favor. McCarthy v. Dun & Bradstreet Corp., 482 F.3d

184, 191 (2d Cir. 2007).        The Court’s function on a motion to

dismiss is “not to weigh the evidence that might be presented at

a trial but merely to determine whether the complaint itself is



2 Goodman also invokes Rule 11, but there is no indication that the
prerequisites of Rule 11 have been satisfied. See Fed. R. Civ. P. 11(c)(2).
3 Goodman also moves the Court to consolidate case number 24-cv-2203 with case

numbers 23-cv-5875 and 23-cv-6881 and consider the present motion to dismiss
as brought against the complaints in all three consolidated cases. There is
no operative complaint in case number 24-cv-2203, however, because the
District Court for the Southern District of Indiana dismissed the complaint
in that case before it transferred the case to this Court. See Case No. 24-
cv-2203, ECF No. 45. Goodman’s motion to consolidate is therefore denied.

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legally sufficient.” Goldman v. Belden, 754 F.2d 1059, 1067 (2d

Cir. 1985). To survive a motion to dismiss, the plaintiff’s

complaint “must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial

plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id.

     While the Court should construe the factual allegations in

the light most favorable to the plaintiff, “the tenet that a

court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions.” Id. When

presented with a motion to dismiss pursuant to Rule 12(b)(6),

the Court may consider documents that are referenced in the

complaint, documents that the plaintiff relied on in bringing

suit and that are either in the plaintiff's possession or that

the plaintiff knew of when bringing suit, or matters of which

judicial notice may be taken. See Chambers v. Time Warner, Inc.,

282 F.3d 147, 153 (2d Cir. 2002).

     The Court is obliged to construe pro se pleadings

liberally, Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009), and

interpret them to raise the “strongest [claims] that they

suggest,” Triestman v. Fed. Bureau of Prisons, 470 F.3d 471,

474-75 (2d Cir. 2006) (emphasis in original). However, the

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“special solicitude in pro se cases has its limits,” Liverpool

v. City of New York, No. 19-cv-5527, 2020 WL 5995028, at *1

(S.D.N.Y. Oct. 9, 2020), and a pro se litigant is not exempt

“from compliance with relevant rules of procedural and

substantive law.” Traguth v. Zuck, 710 F.2d 90, 95 (2d Cir.

1983). To state a claim that complies with Rule 8 of the Federal

Rule of Civil Procedure, pro se pleadings must “make a short and

plain statement showing that the pleader is entitled to relief,”

Liverpool, 2020 WL 5995028, at *1.

                                  II.

     The plaintiff, acting pro se, brought case number 23-cv-

5875 in this Court (the “5875 Action”). 5875 Action, ECF No. 1.

The plaintiff then moved to consolidate the 5875 Action with

case number 23-cv-6881 (the “6881 Action”), which was brought in

the United States District Court for the Eastern District of

Michigan, 6881 Action, ECF No. 1, and transferred to this Court,

id. at ECF No. 32. The Court granted the plaintiff’s motion to

consolidate the two cases. 5875 Action, ECF No. 20; 6881 Action,

ECF No. 34.

     In the two amended complaints, the plaintiff rehashes a

convoluted history of the defendant, an operator of a YouTube

channel and other social media accounts, who in various online

fora has name-called the plaintiff and accused him of committing

wildly implausible acts. See generally 5875 Am. Compl.; 6881 Am.

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Compl. On the basis of the defendant’s facially ridiculous

statements and uncharitable name-calling in online fora, the

plaintiff seeks to impose civil liability on the defendant.

     The plaintiff’s claims against the defendant Goodman (and

various companies that Goodman allegedly owns and operates) are

as follows: (1) false advertising in violation of the Lanham

Act, 11 U.S.C. § 1125(a), and the New York General Business Law

§ 350; (2) deceptive acts or practices in violation of the

Federal Trade Commission (“FTC”) Act, 15 U.S.C. § 45(a); (3)

defamation by implication; (4) trade libel; (5) reckless or

intentional infliction of emotional distress; (6)

misappropriation of publicity rights and public disclosure of

private facts in violation of New York Civil Rights Law §§ 50 &

51; and (7) vicarious liability against various corporate

entities allegedly owned by Goodman. See generally 5875 Am.

Compl.; 6881 Am. Compl. In the 5875 Amended Complaint, the

plaintiff also alleges that Goodman posted falsehoods about the

plaintiff’s late father in violation of Indiana state law. 5875

Am. Compl. ¶¶ 143–45.

     In his complaints, the plaintiff claims he has “suffered

the dilution of his career in the emergency medical services and

the emergency management field as a direct result of” Goodman’s

actions. 5875 Am. Compl. ¶ 41; 6881 Am. Compl. ¶ 21. The

plaintiff also claims that his “professional reputation and

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business opportunities in the field of cyber emergency response

have all but been destroyed by Goodman’s fraudulent transmission

of his hoax news videos that accuse the [p]laintiff of criminal

activities.” 5875 Am. Compl. ¶ 41; 6881 Am. Compl. ¶ 23. The

plaintiff further pleads that Goodman’s privacy and intentional

torts caused him unspecified harm. See 5875 Am. Compl. ¶¶ 41,

85, 146–47; 6881 Am. Compl. ¶¶ 23, 56, 64, 117–19. Both

complaints allege that the plaintiff suffered “damages in excess

of $75,001.00 USD.” 5875 Am. Compl. at 1; 6881 Am. Compl. at 1.

                                  III.

                                   A.

     Sweigert’s Lanham Act and FTC Act claims are entirely

implausible. The Lanham Act provides a cause of action to

commercial competitors, not to consumers. POM Wonderful LLC v.

Coca-Cola Co., 573 U.S. 102, 108 (2014). Because the plaintiff

fails to “allege an injury to a commercial interest in

reputation or sales” caused by trademark-based confusion, he

cannot invoke the Lanham Act’s private right of action. See

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 131–32 (2014). And “there is no private right of action

under the FTC Act.” Fed. Trade Comm'n v. Walmart Inc., 664 F.

Supp. 3d 808, 832 (N.D. Ill. 2023) (collecting cases).

Accordingly, the plaintiff’s Lanham Act and FTC Act claims must

be dismissed.

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                                   B.

     Sweigert claims that Goodman violated section 350 of the

New York General Business Law (“NYGBL”), which prohibits false

advertising. 5875 Am. Compl. ¶¶ 110–19. But the plaintiff lacks

standing to bring any claim against Goodman under section 350

because he has not alleged an injury in fact.

     Article III standing is an “essential and unchanging part

of the case-or-controversy requirement of Article III.” Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 (1992). “The party invoking

federal jurisdiction bears the burden of establishing” the

elements of Article III standing. Id. at 561. “[I]n order to

have Article III standing, a plaintiff must adequately establish

[as the first element] an injury in fact.” Sprint Commc’ns Co.,

L.P. v. APCC Servs., Inc., 554 U.S. 269, 273—74 (2008). To meet

the injury-in-fact requirement, a plaintiff must allege that he

suffered “an invasion of a legally protected interest which is

(a) concrete and particularized; and (b) actual or imminent, not

conjectural or hypothetical.” Lujan, 504 U.S. at 560. “A

concrete injury must be de facto; that is, it must actually

exist.” Spokeo, Inc. v. Robins, 578 U.S. 330, 340 (2016).

     The plaintiff alleges that Goodman is deceiving “the

consuming public in New York to provide credit card donations”

to Goodman’s companies under the false guise that Goodman’s

companies are reliable fact-checking engines. See 5875 Am.

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Compl. ¶¶ 110–19. But Sweigert does not allege that he was ever

duped by Goodman’s allegedly false advertising into paying any

amount of money to Goodman or any of his businesses. Because

Sweigert does not allege that Goodman’s deceptive advertising

inflicted a concrete injury on him, he has not adequately

pleaded an injury in fact. See Spokeo, 578 U.S. at 340. Sweigert

therefore lacks Article III standing to bring any claim under

NYGBL § 350 against Goodman. See id.

     Similarly, Sweigert alleges that Goodman has violated NYGBL

§ 349, which prohibits deceptive acts and practices. 5875 Am.

Compl. ¶¶ 120–123. Sweigert alleges that Goodman has operated

social media accounts to process fraudulent and unauthorized

transactions to consumers’ credit card accounts. Id. But

Sweigert never alleges that he has been duped by any of these

activities. Therefore, Sweigert lacks standing to bring any

claim against Goodman for an alleged violation of NYGBL § 349.

See Spokeo, 578 U.S. at 340.

                                   C.

     Sweigert attempts to allege defamation and trade-libel

claims against Goodman under New York law. See, e.g., 5875 Am.

Compl. ¶¶ 48, 105–09, 124–34; 6881 Am. Compl. ¶¶ 84–88; 103–13.

The alleged defamatory statements about the plaintiff concern

three main topics. The plaintiff alleges that Goodman: (1)

called the plaintiff “Stupid Mario Luigi” and similar names,

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see, e.g., id. ¶ 48; (2) accused the plaintiff of being engaged

in a criminal conspiracy or other general “criminal conduct,”

see, e.g., id. ¶¶ 33, 106; and (3) accused the plaintiff of

conspiring with various federal-government officials and

employees to hack federal court servers and upload forged court

documents, see, e.g., 6881 Am. Compl. ¶ 58. The plaintiff’s

trade-libel claims rely on the same alleged statements. See 5875

Am. Compl. ¶¶ 105–09; 6881 Am. Compl. ¶¶ 84–88.

                                   1.

     As a threshold matter, the plaintiff’s complaints do not

set forth “a short and plain statement” of his defamation and

trade-libel claims. See Fed. R. Civ. P. 8(a)(2). Rule 8(a)(2) of

the Federal Rules of Civil Procedure provides that a complaint

“shall contain . . . a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a)(2). “The statement should be plain because the principal

function of pleadings under the Federal Rules is to give the

adverse party fair notice of the claim asserted so as to enable

him to answer and prepare for trial.” Salahuddin v. Cuomo, 861

F.2d 40, 42 (2d Cir. 1988). “The statement should be short

because unnecessary prolixity in a pleading places an

unjustified burden on the court and the party who must respond

to it because they are forced to select the relevant material

from a mass of verbiage.” Id. “When a complaint does not comply

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with the requirement that it be short and plain, the court has

the power, on its own initiative or in response to a motion by

the defendant, to strike any portions that are redundant or

immaterial, see Fed. R. Civ. P. 12(f), or to dismiss the

complaint.” Id.

     The plaintiff’s defamation and trade-libel claims are

“confused, ambiguous, vague, or otherwise unintelligible.” See

Salahuddin, 861 F.2d at 42. Because the plaintiff’s allegations

are sprawling, ill-defined as to time and place, and vague as to

defamatory meaning, their “true substance, if any, is well

disguised.” See id. Accordingly, the plaintiff’s defamation and

trade-libel claims must be dismissed for failure to comply with

Rule 8(a)(2). See id.

                                   2.

     Moreover, the defamatory statements alleged by the

plaintiff do not state any plausible claim to relief under Rules

8(a)(2) and 12(b)(6). “Defamation is the injury to one's

reputation either by written expression, which is libel, or by

oral expression, which is slander.” Idema v. Wager, 120 F. Supp.

2d 361, 365 (S.D.N.Y.2000). “Under New York law, a plaintiff

must establish five elements to recover in libel: (1) a written

defamatory statement of fact concerning the plaintiff; (2)

publication to a third party; (3) fault (either negligence or

actual malice depending on the status of the libeled party); (4)

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falsity of the defamatory statement; and (5) special damages or

per se actionability (defamatory on its face).” Celle v.

Filipino Reporter Enters. Inc., 209 F.3d 163, 176 (2d Cir.

2000). A defamatory statement is one that exposes the plaintiff

“to public hatred, shame, obloquy, contumely, odium, contempt,

ridicule, aversion, ostracism, degradation, or disgrace, or . .

. induces an evil opinion of one in the minds of right-thinking

persons, and . . . deprives one of . . . confidence and friendly

intercourse in society.’” Karedes v. Ackerley Group, Inc., 423

F.3d 107, 113 (2d Cir.2005). “Whether particular words are

defamatory presents a legal question to be resolved by the

court[s] in the first instance.” Celle, 209 F.3d at 177.

     The plaintiff fails to state a claim with respect to the

first category of statements calling the plaintiff “Stupid Mario

Luigi” and the like because “he failed to allege that the

statements at issue were defamatory.” LaNasa v. Stiene, ---F.

Supp. 3d----, 2024 WL 1648001, at *7 (E.D.N.Y. 2024) (appeal

filed). Such “alleged statements are insults” that “lack

objective truth value.” Id. Accordingly, the plaintiff’s

allegations that “amount to no more than name-calling or general

insults”—like Stupid Mario Luigi—“are not defamation.” Id.

(quoting Klepetko v. Reisman, 839 N.Y.S.2d 101, 102 (App. Div.

2007)).



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     The second category of alleged statements accusing Sweigert

of being engaged in an unspecified criminal conspiracy or

general criminal conduct also fails to state a defamation claim.

“A vague suggestion of criminality cannot be a basis for a

defamation claim.” Rosa v. Eaton, No. 23 Civ. 6087, 2024 WL

3161853, at *3 (S.D.N.Y. June 25, 2024) (collecting cases). And

the context of Goodman’s alleged statements lends further

support to this determination. Id. at *4. Goodman allegedly

posted statements vaguely suggesting the plaintiff’s criminality

to various online fora, such as Twitter (now X) and Youtube.

See, e.g., 6881 Am. Compl. ¶ 37. “Online fora . . . are

informal, unedited, and typically regarded as fora for stating

opinions,” rather than facts. Rosa, 2024 WL 3161853, at *4.

While the law does not immunize online statements from liability

for defamation, the average reader viewing Goodman’s statements

would view his posts and videos as reflective of his opinions,

see id., or indeed, as “illogical online conspiracy theories,”

see Sweigert v. Goodman, No. 18-cv-8653, 2019 WL 11662227, at *1

(S.D.N.Y. Aug. 20, 2019). Such illogical online conspiracy

theories are “non-actionable opinion[s] incapable of being

proven false.” Sweigert v. Goodman, No. 18-cv-8653, 2022 WL

168080, at *4 (S.D.N.Y. Jan. 19, 2022).

     The remainder of the plaintiff’s allegations fail to state

a claim for defamation because his allegations do not render

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plausible special damages or defamation per se, either at all or

with sufficient particularity. Addressing each in turn, special

damages means the “loss of something having economic or

pecuniary value.” Berland v. Chi, 38 N.Y.S.3d 57, 59 (App. Div.

2016). Special damages “must be fully and accurately stated,

with sufficient particularity to identify actual losses.” Celle,

209 F.3d at 179. The plaintiff’s general allegations that he

suffered professional and financial harm fall well short of that

bar and thus fail to allege special damages. See id. He also

alleges that he suffered “angst, anxiety, sleep disturbances and

concern,” 5875 Am. Compl. ¶ 104; 6881 Am. Compl. ¶ 83, but such

a “claim of emotional distress” is “insufficient to allege

special damages.” See Berland, 38 N.Y.S.3d at 59.

     As relevant here, a plaintiff alleges defamation per se if

the false statement of fact (i) “tends to injure [the plaintiff]

in his or her trade, business or profession.” Fuji Photo Film

U.S.A., Inc. v. McNulty, 669 F.Supp.2d 405, 411 (S.D.N.Y. 2009),

or (ii) “charg[es] [the] plaintiff with a serious crime,”

Thorsen v. Sons of Norway, 996 F. Supp. 2d 143, 165 (E.D.N.Y.

2014). In this case, the plaintiff admits that he “is not a

professional hacker,” 6881 Am. Compl. ¶ 128, and otherwise fails

to allege any plausible harm to his trade, business, or

profession caused by Goodman’s statements. And many of the

alleged statements merely suggest vague criminality, which is

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insufficient to allege defamation per se. See Rosa, 2024 WL

3161853, at *3. Accordingly, the plaintiff fails to allege

plausibly that such alleged statements were defamatory per se

under New York law. See LaNasa, 2024 WL 1648001, at *7.

     The third category of alleged statements requires further

discussion. The complaints allege that Goodman made statements

in online fora, in documents filed in Michigan federal court,

and to Michigan law enforcement officials, that accused the

plaintiff of hacking federal-court servers and conspiring with a

Michigan law clerk to file fraudulent documents on the Michigan

federal court’s docket. See 5875 Am. Compl. ¶ 19; 6881 Am.

Compl. ¶¶ 11, 25, 26, 37, 45–50, 53, 57–58, 60–62, 106. These

alleged statements accused the plaintiff of violating federal

criminal laws, see, e.g., 18 U.S.C. § 1030, and thus may be

defamatory per se. See Erdman v. Victor, No. 20 Civ. 4162, 2021

WL 5359660, at *3 (S.D.N.Y. Nov. 17, 2021).

     The third category of alleged statements nevertheless merit

dismissal. The plaintiff’s prolix allegations fail to set forth

a “short and plain statement” of his claim as required under

Rule 8(a)(2). The disorganized and meandering complaints

“place[] an unjustified burden on the court and the party who

must respond to it because they are forced to select the

relevant material from a mass of verbiage.” Salahuddin, 861 F.2d

at 42. If the plaintiff wishes to pursue these defamation claims

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in federal court, he must comply with Rule 8(a)(2)’s pleading

standard. Id. Moreover, the plaintiff’s disorganized and diffuse

allegations fail to plead his defamation claims with sufficient

particularity for the Court to be able to determine whether they

can survive a motion to dismiss. Accordingly, the defamation

claims must be dismissed without prejudice.

                                   3.

     As for trade libel, the plaintiff’s claims rely on the same

statements and alleged harm that form the basis for his

defamation claims. Therefore, his trade-libel claims must be

dismissed as duplicative of his defamation claims. See Hengjun

Chao v. Mount Sinai Hosp., 476 Fed. Appx. 892, 895 (2d Cir.2012)

(summary order) (holding that the “district court correctly

dismissed [the plaintiff's] other tort claims as duplicative of

his defamation claim” where “the factual allegations underlying

[those] . . . claims [were] virtually identical to the facts

underlying his defamation claim” and “the harms that [the

plaintiff] contend[ed] he suffered as a result of the[] other

torts . . . all flow[ed] from the effect on his reputation

caused by defendants' allegedly defamatory statements”).

     Moreover, under New York law, “[t]rade libel or product

disparagement is an action to recover for words or conduct which

tend to disparage or negatively reflect upon the condition,

value or quality of a product or property.” Angio–Med. Corp. v.

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Eli Lilly & Co., 720 F. Supp. 269, 274 (S.D.N.Y. 1989). The

plaintiff does not allege that any of Goodman’s allegedly false

statements (including the ones that charged the plaintiff with

an alleged crime) reflected negatively on the condition, value,

or quality of any product or property that the plaintiff owned

or offered for sale. Therefore, the complaints fail to plead a

prima facie claim for trade libel.

                                   D.

     Sweigert’s next claim is that Goodman intentionally or

recklessly inflicted emotional distress on him. 5875 Am. Compl.

¶¶ 102–104; 6881 Am. Compl. ¶¶ 81–83. Intentional or reckless

infliction of emotional distress occurs when the defendant (i)

engages in “extreme and outrageous” conduct (ii) with the intent

to cause, or with disregard of a substantial probability of

causing, the plaintiff severe emotional distress (iii) and does

in fact cause the plaintiff (iv) severe emotional distress.

Chanko v. ABC Inc., 49 N.E.3d 1171, 1178 (N.Y. 2016). This claim

is “highly disfavored” and only to be used “as a last resort.”

Turley v. ISG Lackawanna, Inc., 774 F.3d 140, 158 (2d Cir.

2014). Because the tort is so vaguely defined, New York courts

guard against its overuse by interpreting the “extreme and

outrageous” standard strictly. Howell v. N.Y. Post Co., 612

N.E.2d 699, 702 (N.Y. 1993); see Chanko, 49 N.E.3d at 1179

(noting that the New York Court of Appeals found that standard

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unmet in every case up to that point in which that court had

considered it).

     The plaintiff fails to state an intentional or reckless

infliction of emotional distress claim because his allegations

against Goodman do not describe extreme and outrageous conduct.

Defamatory statements generally cannot form the basis of an

emotional distress claim. Coleman v. Grand, 523 F. Supp. 3d 244,

267 (E.D.N.Y. 2021). Goodman’s alleged statements about the

plaintiff, though crass, fall below the “exceedingly high bar”

for what constitutes “extreme and outrageous” conduct under New

York law. See id. Accordingly, the plaintiff has failed to state

a claim for intentional or reckless infliction of emotional

distress.

                                   E.

     Sweigert next alleges that Goodman publicly disclosed

private facts about him in violation of New York law. 5875 Am.

Compl. ¶¶ 92–101; 6881 Am. Compl. ¶¶ 71–80.

     But “New York does not recognize a common-law right of

privacy.” Messenger ex rel. Messenger v. Gruner + Jahr Printing

& Pub., 727 N.E.2d 549, 551 (N.Y. 2000). Because there is no

common-law privacy right under New York law, the plaintiff

cannot state a claim for relief based on Goodman’s alleged

public disclosure of private facts.



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                                   F.

     Sweigert also alleges that Goodman misappropriated his

publicity rights in violation of New York Civil Rights Law

(“NYCRL”) §§ 50 & 51. 5875 Am. Compl. ¶¶ 84–91; 6881 Am. Compl.

¶¶ 63–70.

     By enacting sections 50 and 51 of the NYCRL, the New York

legislature sought to “provide a limited statutory right of

privacy.” Messenger, 727 N.E.2d at 551. To prevail on a claim

pursuant to NYCRL §§ 50 and 51, a plaintiff must show that the

defendant: “(1) use[d] of plaintiff’s name, portrait, picture or

voice (2) for advertising purposes or for the purposes of trade

(3) without consent and (4) within the state of New York.”

Hoepker v. Kruger, 200 F. Supp. 2d 340, 348 (S.D.N.Y. 2002).

“Advertising purposes has been defined as use in, or as part of,

an advertisement or solicitation for patronage of a particular

product or service, and trade purposes involves use which would

draw trade to the firm.” Mason v. Jews for Jesus, No. 06-CV-

6433, 2006 WL 3230279, at *3 (S.D.N.Y. Nov. 8, 2006). Courts

construe the advertising or trade purposes requirement narrowly.

Finger v. Omni Publ’ns Int’l, Ltd., 566 N.E.2d 141, 143 (N.Y.

1990). “The advertising purposes prong of [NYCRL §§ 50–51] is

not violated where the use of plaintiff’s name is not designed

primarily to solicit purchasers for [the] defendant’s products.”



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Herink v. Harper & Row Publishers, 607 F. Supp. 657, 659

(S.D.N.Y. 1985).

     The plaintiff alleges that Goodman used the plaintiff’s

“name, photograph, picture, portrait and/or likeness” in order

to “advertise, solicit, and promote [his] business” and

ultimately induce viewers to pay to view Goodman’s content on

various internet platforms. 5875 Am. Compl. ¶¶ 85, 87–89; 6881

Am. Compl. ¶¶ 64–68. Accordingly, the complaints state a

plausible claim under NYCRL §§ 50 and 51.

                                   G.

     Invoking respondeat superior liability, Sweigert also seeks

to hold various companies allegedly owned by Goodman vicariously

liable for Goodman’s actions. 5875 Am. Compl. ¶¶ 135–137; 6881

Am. Compl. ¶¶ 114–16. But “[t]he doctrine of respondeat superior

renders an employer vicariously liable for torts committed by an

employee acting within the scope of the employment.” Judith M.

v. Sisters of Charity Hosp., 715 N.E.2d 95, 96 (N.Y. 1999).

Because the complaints do not allege that Goodman is an employee

or agent of any of the companies that the plaintiff seeks to

hold vicariously liable, the doctrine of respondeat superior is

inapplicable in this case. See id.

                                   H.

     Sweigert also fails to allege plausibly any violation of

Indiana Code § 32-36-1-8 (2019), which proscribes the use of “an

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aspect of a personality’s right of publicity for a commercial

purpose during the personality’s lifetime or for one hundred

(100) years” thereafter without written consent. Under that

section, “[i]f a personality is deceased,” “a claim for a

violation of a personality's right of publicity may not be

asserted . . . unless the alleged act or event of violation

occurs within Indiana.” § 32-36-1-8(a)(3).

     The plaintiff claims that Goodman created a Twitter (now X)

profile in order to “disgrace the military service of George H.

Sweigert,” the plaintiff’s father. 5875 Am. Compl. ¶¶ 143–45.

But the plaintiff fails to allege how Goodman is using George H.

Sweigert’s publicity rights “for a commercial purpose,” as

required to state a claim under § 32-36-1-8. Nor does he allege

any “act or event of violation [that] occur[ed] within Indiana,”

as required to enforce a deceased personality’s rights under §

32-36-1-8(a)(3). Sweigert’s Indiana state law claims must

therefore be dismissed.

                                   IV.

     The defendant Goodman requests further relief from the

Court: a nationwide filing injunction restricting Sweigert from

filing any new cases against Goodman. While Sweigert has filed

numerous unsuccessful lawsuits against various defendants,

Sweigert has filed relatively few against Goodman, and the two

present complaints have survived a motion to dismiss, although

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barely. And in another case brought by the plaintiff against

Goodman in this District, the plaintiff’s defamation claims

concerning two statements made by Goodman and the plaintiff’s

claims under NYCRL sections 50 and 51 survived summary judgment.

See Sweigert, 2022 WL 168080, at *9. Therefore, the motion for

an injunction against the plaintiff to prevent him from filing

other litigation is denied without prejudice at this time.

     But it is plain that to accomplish the purpose of Rule 1—

“to secure the just, speedy, and inexpensive determination of

every action and proceeding”—the present two litigations will

require careful monitoring by this Court and the Magistrate

Judge to whom they are assigned for general pre-trial purposes.

See Fed. R. Civ. P. 1. These two litigations have only reached

the motion to dismiss stage, but the 5875 Action has generated

168 docket entries and the 6881 Action has generated 143 docket

entries.

                               CONCLUSION

     The Court has considered all of the arguments raised by the

parties. To the extent not specifically addressed, the arguments

are either moot or without merit.

     The defendant’s motion to dismiss the plaintiff’s Lanham

Act and FTC Act claims is granted and those claims are dismissed

with prejudice.



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     The defendant Goodman’s motion to dismiss the plaintiff’s

claims pursuant to NYCRL §§ 50 and 51 is denied.

     The motion to dismiss the remaining claims is granted and

those claims are dismissed without prejudice to the ability of

the plaintiff to file an amended complaint that resolves the

deficiencies in the current complaints.

     If the plaintiff wishes to file a second amended complaint,

the plaintiff must file a motion to amend, attaching a copy of

the proposed consolidated second amended complaint for both the

5875 and 6881 Actions, and explaining how the proposed

amendments solve the deficiencies noted in this opinion. The

motion to amend and all accompanying materials must not exceed

fifteen double spaced pages, excluding the attached proposed

consolidated second amended complaint. The motion to amend must

be filed by October 30, 2024. The defendants may respond in a

filing not to exceed fifteen double spaced pages by November 21,

2024. The plaintiff may reply in a filing not to exceed eight

double spaced pages by December 6, 2024.

     No other filings are authorized until this Court or

Magistrate Judge Figueredo issues a decision on the plaintiff’s

anticipated motion to amend, or if the plaintiff does not file

such a motion, until the time for the plaintiff to file the

motion has passed.



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